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DEPARTMENT OF THE TREASURY
Internal Revenue Service
Criminal Investigation

Memorandum of Interview

 

 

Investigation #: 1000225431 Location: Conference Call

Investigation Name: Fredrick

Miami, FL

Date: September 10, 2013
Time: Approximately
4:00p.m.
Participant(s): Kathryn Yates (formerly Warr), Witness

Caryn Finley, DOJ Tax Attorney
Margaret Leigh Kessler, DOJ Tax Attorney
F. Cameron Lalli, Special Agent

On the above date and time, a conference call was held with Kathryn Yates to discuss
her involvement with the SABA School of Medicine. The following information was
discussed:

1. Ms. Finley stated that the purpose of this call was to discuss her activities with

the SABA School of Medicine and to review certain Board Minutes that show
her being present. She was told Dr. Fredrick and Dr. Hough are under
indictment for conspiracy and tax charges and will be going to trial on October
8, 2013 in Fort Myers, FL.

_ Ms. Yates met Dr. Fredrick and Dr, Hough 25 years ago as they were next door

neighbors in Augusta, GA. They had a social relationship. Ms. Yates at the
time was in public accounting and now she is in private accounting. Dr.
Fredrick was teaching at Augusta State University and she believes Dr. Hough
was a resident. They could not set up an office for their schools in Georgia so
they moved and ended up in Massachusetts. Ms. Yates was asked to be on
the board of directors by Dr. Fredrick and Dr. Hough. She visited them a few
times in Massachusetts. Ms. Yates was concerned about Director and Officer
insurance and Dr. Fredrick would not buy this. She was first a board member
for SABA then served as a board member for MUA. She would sit and talk
about the accreditation aspects for the schools and look at the financial
statements. The Board did not have to approve expenditures. Dr. Fredrick was
in charge as he told what was going to happen. Ms. Yates thought they (Dr.
Fredrick and Dr. Hough) started and owned SABA. This was a non-profit
organization established in the Netherlands West Antilles. Dr. Fredrick and Dr.
Hough were the ones directing. She thought MUA was a non-profit. She did
not draft any board minutes.

3. Ms. Yates does not remember if the schools were investing in China or if they

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were to spend $5 million in China. She does not remember when she became
a board member. Dr. Hough told her they had soid the school. She does not
remember personal loans being requested by Dr. Fredrick or Dr. Hough. There
was no request for an airplane. She did fly in Dr. Fredrick’s plane and she does
not know if the plane was for business. She knows he was a pilot. There was
no discussion of going from non-profit to for profit on the school. She does
remember a discussion on changing the structure. The board would meet
annually in Gardner, MA or on SABA (inspection and accreditation). Most came
in person for the board meetings. Dr. Hough attended and seemed active. Dr.
Fredrick was more active and more vocal. They ran the business. Dr. Hough
seemed to want to get the best accountants and lawyers, Dr. Fredrick not so
much.

4, There was a bank account on SABA. There were no bank accounts in
Switzerland. The school was the Foundation. SABA and MUA were the
schools. The purpose of the Foundation was education (medical schools).
There were no affiliated entities. She has not heard of New Vanguard,
TopFast, Medical Technology Associates (MTA), Ample Dynamics, Round Hill
Project Holdings, Hillside properties, Beda Singenberger, Florencio
Montenegro, or Dr. Bautista. She assumes the government owned the land but
she doesn't know. Paul Dalbec lived in Augusta and was a general practitioner.
William DiGiacomo was a board member (maybe) and she does not know if he
went to the board meetings. John Nekic worked at the Gardner office (maybe),
an employee. She is not sure who David Minchenberg is. She does not
remember receiving a memo in 2005 regarding tax fraud. There was no
discussion with Dr. Hough about personal taxes. She knows the house in
Asheville, NC was a vacation home. She knew who Laura Whitley was and
Laura was not on the Board of the schools.

5. Ms. Yates was told she would be receiving a trial subpoena for her testimony

for the trial beginning October 8, 2013 in Fort Myers, FL. This concluded our
conversation.

| prepared this memorandum on September 20, 2013, after refreshing my memory
from notes made during and immediately after the conversation with Kathryn Yates.

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F. Cameron Laili
Special Agent

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